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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

                                               §
THE DAILY WIRE, LLC, et al.,                   §
                                               §
       Plaintiffs,                             §
                                               §
v.                                             § Case No. 6:23-cv-609-JDK
                                               §
UNITED STATES DEPARTMENT OF                    §
STATE, et al.,                                 §
                                               §
       Defendants.                             §
                                               §

               ORDER EXTENDING THE STAY OF PROCEEDINGS

         Before the Court is the parties’ joint motion to stay this case for an

 additional forty-five days. Docket No. 102. The Court previously stayed the case

 until February 18, 2025. Docket No. 99.

         Having considered the motion, the Court finds it should be GRANTED.

 Accordingly, it is hereby ORDERED that:

            1. This case is STAYED until April 4, 2025.

            2. The parties shall file a status report and further motion or a

                proposed schedule for continuing the litigation by April 11, 2025.

            3. During the stay, Plaintiffs may continue to resolve issues with third

                parties related to the subpoenas previously served.

     So ORDERED and SIGNED this 17th day of February, 2025.



                                       ___________________________________
                                       JEREMY D. KERNODLE
                                       UNITED STATES DISTRICT JUDGE
